178 F.3d 1279
    JD, Sr., as Natural Parents, Guardians, Next Friends ofTheir Minor Children, JD, Jr., CD; LD, His Wife,as Natural Parents, Guardians, Next ofFriends of Their MinorChildren, JD, Jr., CDv.Brian Kimmins, Sergeant, Kevin Kelly, Chief, Borough ofStroudsburg, District Attorney's Office of MonroeCounty, County of Monroe
    NO. 98-7402
    United States Court of Appeals,Third Circuit.
    March 19, 1999
    Appeal From:  M.D.Pa. ,No.96cv0533
    
      1
      Affirmed.
    
    